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                   EXHIBIT 4
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                                                                                 Page 1
 1              UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF FLORIDA
 2
 3   JANE DOE NO. 2,                       Case No: 08-CV-80119
 4         Plaintiff,
 5   Vs
 6   JEFFREY EPSTEIN,
 7         Defendant .
                             I
 8
     JANE DOE NO. 3 /                      Case NO: 08-CV-80232
 9
           Plaintiff,
10   Vs
11   JEFFREY EPSTEIN,
12         Defendant.
                             I
13
     JANE DOE NO . 4,                      Case No: 08-CV-80380
14
            Plaintiff,
15
     Vs.
16
     JEFFREY EPSTEIN,
17
            Defendant .
18                           I
19   JANE DOE NO. 5,                       Case No : 08-CV-80381
?n         Pl;:i-intiff
21   Vs
22   JEFFREY EPSTEIN,
23         Defendant.
                             I
24
25


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                                                                 NON PARTY (VR) 000247




                                                                                    GIUFFRE00093 5
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                                                                              l'age 2                                                                                      Pa ge 4
I        JANE DOE NO. 6,              Case No: 08-CV-80994                               1               V[DEOTAPED
2             Plaintiff1                                                                 2               DEPOSITION
3        Vs                                                                              3                   of
4        JEFFREY EPSTEIN,                                                                4               ALFREDO RODRIGUEZ
5            Defendant.                                                                  s
                                                                                         6         taken on behalf of the Plaintiffs pursuant
6                                                                                        7    t o a Re-N otice of Taking Deposi ti on ( Duces Tecum)
         JANE DOE NO. 7,              Case No. 08-CV-80993                                8
7                                                                                         9                    ---
              Plaintiff,                                                                 10   APPEARANCES:
8                                                                                        11
         Vs                                                                                              MERMELSTEIN & HOROWITZ, P.A.
9                                                                                        12              BY: STUART MERMELSTEI N, ESQ .
         JEFFREY EPSTEI N,                                                                               18205 Biscayne Boulevard
10                                                                                       13              Suite 22 18
              Defendant.
                                                                                                         Miam i, Florida 33 160
11                                                                                       14              Attorney fo r Jane Doe 2, 3, 4, 5,
12       C M.A. ,                 Case No: 08-CV-80811
                                                                                                         6, and 7.
13           Plaintiff,
                                                                                         15
14       Vs
                                                                                         16              ROTHSTEIN ROSENFELDT AD LER
15       JEFFREY EPSTEIN,
                                                                                                         BY: BRAD J. EDWARDS, ESQ., an d
16           Defendant.
                                                                                         17              CARA HOLMES, ESQ.
                                                                                                         Las Olas City Centre
17
                                    Case No : 08-CV- 8089 3                              18              Sui te 1650
         JANE DOE,
                                                                                                         401 East Las Olas Bou levard
18
              Plaintiff,                                                                 19              Fort Lauderdale, Florida 33301
19                                                                                                       Attorney for Jane Doe and E.W .
         Vs                                                                              20              And L.M.
20                                                                                       21
         JEFFREY EPSTEI N,                                                                               PODHURST ORSECK
21                                                                                       22              BY: KATHERINE W. EZELL
              Defendant.                                                                                 25 West Flagler Street
22                                                                                       23              Suite 800
23                                                                                                       Miami, Florida 33130
24                                                                                       24              Attorney for Jane Doe 101 and 102.
25                                                                                       25



                                                                              Pa g e 3                                                                                     Pag e 5 ,

 1       JANE DOE NO . II,                Case No: 08-CV-80469                            1
             Plainti ff,                                                                      APPEARANCES:
 2
                                                                                         2
 3       Vs
                                                                                         3              LEOPOLD-KUVJ N
 4       JEFFREY EPSTEIN,                                                                               ADAM J. LAN GI NO, ESQ.
 5           Defe ndant.                                                                 4              29 25 PGA Boulevard
                                                                                                        Suite 200
 6                                                                                       5              Palm Beach Gardens, Florida 33410
         JANE DOE NO. 101,                  Case No: 09 -CV-80 591                                      Atto rney for 8.B.
 7                                                                                       6
               Plaint iff,                                                               7              RICHARD WI LLIT S, ESQ.
                                                                                                        2290 10th Ave nue North
 8
                                                                                         8              Suite 404
         Vs
                                                                                                        Lake Worth, Florida 3346 1
 9                                                                                       9              Attorney for C. M.A.
         JEFFREY EPSTEI N,                                                               10
10                                                                                                      BURMAN, CRJTTON, LUTTIER &
               Defendant.                                                                11             COLEMAN, LLP
11                                                                                                      BY: RO BERT CRJTTON, ESQ.
12       JANE DOE NO . 102,                 Case No: 09 -CV-80656                        12             515 North Flagler Drive
13           Pla intiff,                                                                                Suite 400
                                                                                         13             West Palm Beach, Florida 3340 l
14       Vs
                                                                                                        Attorney for Jeffrey Epstein.
15       JEFFREY EPSTEIN,
                                                                                         14
16           Defendant.                                                                  15
                                      I                                                  16
17                                                                                            ALSO PRESENT:
18                                                                                       17
19                                                                                              JOE LANGSAM, V!DEOGRAPHER
20                         1031 Ives Dairy Road                                          18
                           Suite 228                                                     19
21                         North Miami, Flo rida
                                                                                         20
                           July 29, 2009                                                 21
22                         11 :00 a.m. to 5:30 p.m.                                      22
23                                                                                       23
24                                                                                       24
25                                                                                       25

     .                        '           .... ..                        ,
                                                                         ..         ..              '
                                                                                                                            .. ;:-,... :;;,;.   "' =     "•   '    '

                                                                                                                                                                  2 (Pages 2 to 5)

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                                                                                                                                                NON PARTY (VR) 000248




                                                                                                                                                                             GIUFFRE000936
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                                                 Page 94                                                                      Page 96
 1      A.   I don't remember, sir.                         1       Q. Okay. Do you recall on any occasion who
 2       Q. The next page is a message in the upper         2   would travel with him to the Virgin Islands?
 3   lelt dated January 13, 2005, from C.W. Correct?        3           MR. CRITTON: Form.
 4       A. Yes.                                            4          THE WITNESS: No, sir.
 5       Q. That's the same C. that we've been              5   BY MR. MERMELSTEIN:
 6   talking about. Correct?                                6       Q. I think we were ta lking about the money
 7       A. Yes.                                            7   before, the household account, sometimes you gave
 8       Q. That was at 7:30 p.m. Correct?                  8   gilts?
 9       A. Yes.                                            9       A. Yes, I was told to buy some gifts.
10       Q. And you don't recall what that particular      10       Q. Forwhom?
11   call was about. Right?                                11       A. For the guests.
12      A. No, sir.                                        12       Q. Okay. And what kind of gifts?
13       Q. The message dated January 20, 2005, from       13       A. Shoes, sweaters, clothes.
14   Maria. Do you see that on the bottom right?           14       Q. So were you instructed to buy something
15      A. Yes.                                            15   in particular at a particular store?
16       Q. Do you know who that is?                       16       A. They would go to the store, if they like
17      A. I think I have a different page.                17   something I will go alter and pay them and
18      Q. You're a little ahead of me. January 20,        18   retrieve it.
19   2005.                                                 19       Q. Okay. So would this be a girl who was
20          MR. CRITTON: I think that's page 31.           20   staying at the house?
21          THE WITNESS: I don't remember who she          21       A. Yes.
22        was, sir.                                        22       Q. Okay. This was one of the girls who
23   BY MR. MERMELSTEIN:                                   23   travelled with Mr. Epstein to Palm Beach.
24      Q. You don't recall what that message was          24   Correct?
25   about?                                                25       A. Yes.

                                                Page 95                                                                       Page 97
 1      A. No, sir.                                         1       Q. And so Mr. Epstein wou ld instruct you to
 2      Q. What about the next page there is a              2   go shopping with this girl?
 3   message that Eva called?                               3       A. Yes.
 4      A. Yes.                                             4       Q. And instructed you to pay for whatever it
 5      Q. Dated January 21, 2005?                          5   is she wanted to buy?
 6      A. Yes .                                            6       A. Yes.
 7      Q. Do you know who Eva is?                          7       Q. Was there a price limit or anything of
 8      A. Yes.                                             8   that nature?
 9      Q. Who is Eva?                                      9      A. No, sir.
10      A. The assistant comptroller from the New          10       Q. So when the girl decided what she wanted
11   York office.                                          11   you would --
12      Q. Do you remember her last name?                  12      A. I would write them a check.
13      A. Polish last name I guess. She was               13      Q. In that instance you would pay by check?
14   Russian . She is Russian actually.                    14      A. Yes.
15      Q. Did you ever travel to any other                15      Q. Any other instances where you gave gilts
16   residences that Mr. Epstein had?                      16   to girls at the instruction of Mr. Epstein?
17      A. No.                                             1/     f'\ ,   i,u ,   1 v v u.:, ,~~- ,~,~, ,~~   " •~   ,     , ..   ~,
18      Q. Are you aware he had a residence in the         18   told me I will buy the item.
19   Virgin Islands?                                       19      Q. I'm sorry?
20          MR. CRITTON: Form.                             20      A. You know, when I was told to purchase
21          THE WITNESS : Yes.                             21   this item for them, you know, I will do that, but
22   BY MR. MERMELSTEIN :                                  22   not on any other occasions.
23      Q. And would he sometimes travel to that           23      Q. What do you mean not in any locations?
24   residence from Palm Beach?                            24      A. Any other occasions.
25      A. Yes.                                            25      Q. Not any other occasions. Okay. Did you

                                                                                                                 25 (Pages 94 to 97)
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                                                   Page 98                                                                             Page 100
 1   ever buy flowers for a girl?                             1        Q. Now, you said you never went inside the
 2       A. Yes, sir.                                         2    theatre?
 3       Q. Tell me about that.                               3        A. No, sir.
 4       A. I was told to buy flowers and roses for a         4        Q. Okay. How did you get to the flower
 5   girl performing in high school.                          5    store?
 6       Q. Which girl was that?                              6        A. I called the girl to her cell and she
 7       A. I don't remember the name, sir.                   7    will come to the back door and I give her the
 8       Q. What was Mr. Epstein's relationship to            8    flowers.
 9   this girl?                                               9        Q. Was anyone else around at the time?
10           MR. CRITTON: Form .                             10        A. No, sir.
11           THE WITNESS: I think she was an                 11        Q. And you mentioned this was a girl you had
12        acquaintance, friend.                              12    seen before?
13   BY MR. MERMELSTEIN:                                     13       A. Yes.
14       Q. She was a friend?                                14       Q. Was this girl who had come to give
15       A. Yes, sir.                                        15    massages to Mr. Epstein?
16       Q. Now, she was performing at the high              16           MR. CRITTON: Form.
17   school in what capacity?                                17           THE WITNESS: I don't know if she was
18      A. There was like a -- like a play in the            18         doing massages but she was at the house.
19   graduation for high school.                             19    BY MR. MERMELSTEIN :
20      Q. A play for graduation?                            20       Q. What would she have been there for?
21      A. Yes, in the high school theatre there was         21       A. To visit him.
22   some kind of performance .                              22       Q. This was a high school girl who was
23      Q. Was it like a theatre production?                 23    coming to visit Mr. Epstein at the house?
24      A. Yeah, something like that. I didn't go            24       A. She came to the house, I open the door
25   inside so I didn't know what was going on inside.       25    and I left, you know .

                                                   Page 99                                                                             Page 101
 1       Q. Why do you say it was for graduation?             1        Q. Did you take her to the kitchen like you
 2       A. Because everybody was the graduation              2    did --
 3   outside, there were parents, there were a lot of         3        A. Yes .
 4   people at the school.                                    4        Q. So you brought her to the kitchen just
 5       Q. Okay. A lot of high schools have theatre          5    like you did for the girls who gave him massages.
 6   production companies and they put on plays.              6    Correct?
 7   Correct?                                                 7        A. Yes, sir.
 8            MR. CRITTON: Form.                              8        Q. Did you ever pay her?
 9           THE WITNESS: It was towards the end of           9        A. I don't remember, sir, but probably I
10         the year. Well, I think I overheard that          10    did .
11         there was a graduation performance of some        11            MR. CRITTON : Form, move to strike,
12         kind.                                             12          speculation.
13   BY MR. MERMELSTEIN:                                     13    BY MR. MERMELSTEIN:
14       Q. But you didn't go in so you don't know?          14        Q. Why do you say you probably did?
15      A. No, sir.                                          15        A. Because I was the only one paying --
16       Q. But this was a high school student you           16    well, not the only one but, you know, but chances
11   were bringing me nowers w . 1s L11aL '-V" t:L.l.        J./   Ul,C
                                                                          -
                                                                          1   f-'OIU   "'-'
                                                                                                  -
                                                                                              ~-• •   -~•   L   -•   ,_,   •~-•   -,

18      A. Yes.                                              18    particular instance that I gave her money.
19      Q. Had you seen this girl before at the El           19        Q. Is it fair to say that the girls who came
20   Brillo Way property?                                    20    to the Palm Beach residence, these are not the
21      A. Yes, sir.                                         21    girls who are staying there, the girls who came --
22      Q. You had seen her a number of times?               22    were there to give massages. Correct?
23      A. Yes, sir.                                         23           MR. CRITTON: Form.
24      Q. Do you recall her name?                           24           THE WITNESS : Yes.
25      A. I don't remember her name, sir.                   25    BY MR. MERMELSTEIN:

                                                                                                                            26 (Pages 98 to 101)
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                                                 Page 166                                                     Page 168
1 written down anywhere?                                     1   for now we'll call it a massage -- as well as
2    A. No.                                                  2   anybody who brought that person over to the house,
3    Q. It's my understanding that C. and T.                 3   they would both get paid cash. Are you familiar
4 either came to his house alone to visit with Mr.           4   with that?
5 Epstein or brought other girls in their age group          5          MR. CRITTON: Form .
6 to Mr. Epstein.                                            6          THE WITNESS: No.
7        Were you familiar with that type of                 7   BY MR. EDWARDS :
8 recruitment process of girls bringing other girls?         8      Q. If C. brought another girl over to the
9        MR. CRITTON: Form.                                  9   house and C. stayed downstairs but this other girl
10          THE WITNESS: Yes.                               10   went upstairs with Mr. Epstein, which one would
11   BY MR. EDWARDS:                                        11   you pay?
12      Q. Can you tell me more about what you know         12      A. I don't know because I was told who to
13   about girls bringing other girls that are              13   pay.
14   relatively the same age to come to Jeffrey             14      Q. And Sarah Kellen always told you?
15   Epstein's house and to use your words, have a good     15      A. Sarah told me pay so and so.
16   time?                                                  16      Q. So if we were going to ask anybody else
17          MR. CRITTON: Form.                              17   about the exact method in terms of who would get
18          THE WITNESS: It's hard to know who they         18   paid and for what, who would the people be? I
19        knew. But I think that was -- they feel           19   mean, other than Mr. Epstein who else could we ask
20        better themselves when they're in a group         20   these questions?
21        than going by themselves, but I don't know        21      A. Sarah.
22        somebody recruiting.                              22      Q. Sarah Kellen?
23   BY MR. EDWARDS:                                        23      A. Yes.
24      Q. Okay. And you've talked about, at least          24      Q. She would know this?
25   referred to yourself I believe to the police and       25      A. Yes.

                                                 Page 167                                                     Page 169
1    as well today as a human ATM machine. Right?           1      Q.   What about Ghislaine Maxwell?
2            MR. CRITTON: Form.                             2          MR. CRITTON: Form.
3            THE WITNESS: Something like that. I was        3          THE WITNESS: You're talking about the
4         supposed to carry cash at all times.              4        boss. I don't know.
5    BY MR. EDWARDS:                                        5    BY MR. EDWARDS:
6        Q. One of the primary reasons why you              6       Q. To your knowledge was Ghislaine Maxwell
 7   carried cash was to pay the girls in this age           7   aware of these girls that are in the age group of
 8   group of C. and T. for whatever happened at the         8   C. and T. coming to Jeffrey Epstein's house to
 9   house. Right?                                           9   have a good time?
10           MR. CRITTON: Form.                             10         MR. CRITTON : Form.
             THE WITNESS : Yes.                             11         THE WITNESS : I have to say something.
     BY MR. EDWARDS:                                        12       Mrs. Maxwell called me and told me not to
         Q. That's a fair statement. Right?                 13       ever discuss or contact her again in a
             MR. CRITTON: Form.                                      threaten way.
             THE WITNESS : Yes.                                  BY MR. EDWARDS:
     BY MR. EDWARDS:
                ay. n w         .,
     example, would bring somebody else to the house,            the friends for a job and she told me this, but,
     did you pay C. as well as whomever she brought to           you know, I feel intimidated and so I want to keep
     the house, pay them both 1                                  her out.
        A. No, I pay only one person.                               Q. What exactly did she say? First of all,
        Q. Okay. My understanding, and tell me if                was this a telephone call?
     this is wrong or you can corroborate this, is that             A. Yes, she was in New York.
     Mr. Epstein would pay the girl that was actually               Q. She called you on your cell phone?
     performing whatever was happening in the room --               A. Yes.

                                                                                                43 (Pages 166 to 169)
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                                                                                       NON PARTY (VR) 000289




                                                                                                                     GIUFFRE000978
     Case 1:15-cv-07433-LAP Document 1320-7 Filed 01/03/24 Page 7 of 9




 1      Q.
                                                  Page 170
              Is this the cell phone that was issued to       1   precisely did she say?
                                                                                                                                          Page 172   i
 2    you by Mr. Epstein?                                     2       A. She said I forbid you that you're going     "'
 3       A. No, it was my personal phone. I was               3   to be -- that I will be sorry if I contact any of
 4    already --                                              4   her friends again .
 5       Q. Gone?                                             5       Q. Okay. Other than you will be sorry if
 6       A. Yeah, this is three, four months down the         6   you contact any of my friends again did she say
                                                                                                                     ,,
 7    road.                                                   7   anything else about what you know about Mr.
 8       Q. So if you le~ in --                               8   Epstein and/ or what goes on at his house?
 9       A. February, March -- it was May or June.            9       A. She said something like don't open your
10       Q. Of 2005?                                         10   mouth or something like that. But you have to
11       A. Yes.                                             11   understand, I'm a civil humble, I came as an
12       Q. And you got a call from Ghislaine Maxwell        12   immigrant to service people, and right now you      i
13    out of the blue?                                       13   feel a little -- I'm 55 and I'm afraid. First of                                   '
14       A. Yes.                                             14   all, I don't have a job, but I'm glad this is on
15       Q. And do you know what prompted that               15   tape because I don't want nothing to happen to me.                                 '
16    telephone call?
17       A. Because I contact somebody in New York to
                                                             16
                                                             17
                                                                  This is the way they treat you, better do this and
                                                                  you shut up and don't talk to nobody and --
                                                                                                                                                     I
18    get a job.                                             18       Q. When you say this is the way they treat,
19       Q. Who was that person?                             19   who specifically are you talking about when you
20       A. I contact Jean-Luc and I contact Eva, the        20   say the word they?
21    Swed ish girl, she used to be very good friends        21       A. Maxwell.
22    with Mr. Epstein because she asked me she need         22       Q. And usually when you say the word they,
23    somebody in New York .                                 23   you're not only tal ki ng about one person --
24       Q. What does Eva do?                                24       A. Wealthy people.
25       A. Eva was a model many years ago and he            25       Q. Are you also putting Jeffrey Epstein in

                                                  Page 171                                                                                Page 173
1    married -- Eva is the mother of the girl who was         1   that category?
2    on the wall.                                             2          MR. CRITTON: Form.
3       Q. Who is on the wall of Mr. Epstein's                3          THE WITNESS : I didn't talk to him
 4   house?                                                   4       directly most of the time.
 5      A. Yeah.                                              5   BY MR. EDWARDS :
 6      Q. All right. There is a younger girl model           6      Q. What's the reason why if you were his
 7   that's on the wall of Mr. Epstein's house and this       7   head of security that you wouldn't have more
 8   lady Eva is her mother?                                  8   direct contact with him? Why is that?
 9      A. Yes.                                               9          MR. CRITTON: Form .
10      Q. And at some point in time you called her          10          THE WITNESS: He wanted that way, you
11   in New York to get a job7                               11       know, so, yeah, I have to talk to Sarah,
12      A. That's right.                                     12       Sarah is not available ta lk to Lesley in New
13      Q. And you also called Jean-Luc Bernell?             13       York. He didn't want to be disturbed .
14   That's his name. Right?                                 14   BY MR. EDWARDS:
15      A. Jean-Luc, yeah, I don't remember his last         15      Q. Even while you were in the same house
16   name.                                                   16   with him he still had other people you cou ld talk
17      l,!. uoes mat sound ram111ar to you, Jean-Luc        1/   i:o Oh <C\..CIY UUL I l<C vvu;;, I IV   VI'"'   UI   ci ' ' - '   -:-

18   Bernell?                                                18      A. Yeah .
19      A. Yeah .                                            19      Q. When you were fired you were not fired
20      Q. What did Eva and/ or Jean-Luc say about           20   directly by him?
21   employing you 7                                         21      A. No.
22      A. No, they said they' re going to find out          22      Q. It was through somebody else?
23   and obviously the first thing they did was talk to      23      A. Ms. Maxwell .
24   Mrs. Maxwell.                                           24      Q. Okay. But it was for upsetting him for
25      Q. She made a telephone call to you and what         25   taking the wrong car?

                                                                                                                   44 (Pages 170 to 173)
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                                                                                                                                              GIUFFRE000979
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                                                 Page 174                                                               Page 176 !'
 1       A. Yes.                                             1         this. Because I went through -- the first                   li
 2       Q. Okay . Ever since this communication that        2        t ime I went to the deposition I was in Palm
 3   Ms. Maxwell made to you where she called you            3         Beach and I did my duty, I mean, I tell what
 4   sometime in May or June of 2005, and have you fe lt     4        I know, but now I know there is more           ii
                                                                                                                     _'
 5   threatened?                                             5        digging, all I want is this to be to get on
 6       A. Yes .                                           6         with my normal life and stuff.
 7            MR. CRITTON: Form.                            7    BY MR. EDWARDS:
 8   BY MR. EDWARDS:                                        8        Q. So when you come here today to testify,
 9       Q. Have you felt reluctant to come forward          9   your ma in objective is to get back to your normal
10   and give truthful, honest, and full disclosure of      10   life and get out of the spotlight of this case.
11   all information that you know about this case?         11   Yes?
12            MR. CRITTON: Form.                            12       A. Yes.
13            THE WITNESS: I said this off the record       13       Q. And in doing so have you held back some
14         but I will say it on the record, being in        14   of the details that you know about that happened
15         the Epstein case for me resulted in two          15   in this case to remove yourself from the
16         years I have -- I won't bring the names but      16   spotlight?
17         I was in the third interview to get hired as     17           MR. CRITTON: Form.
18         a household manager in Palm Beach and they       18           THE WITNESS: No, sir.
19         told me you are the Jeffrey Epstein guy.         19   BY MR. EDWARDS :
20         Not in the sense I did something wrong           20       Q. Okay. Have you ever talked to Ghislaine
21         because of the scandal, so they shun the job     21   Maxwell after that telephone call where she cal led
22         away from me. And so I was afraid that --        22   you and you felt threatened?
23         this is very powerful people and one phone       23       A. No.
24         call and you finish, so I'm the little guy.      24       Q. Okay. So going back to where we started
25         Even I'm wearing a tie I'm a -- I'm talking      25   here was, does Ghislaine Maxwell have knowledge of ,

                                                 Page 175                                                               Page 177
 1        from my heart. This is the way it is.              1   the girls that would come over to Jeffrey
 2   BY MR. EDWARDS:                                         2   Epstein's house that are in roughly the same age
 3       Q. I feel for you, I'm sorry that you have          3   group as C. and T. and to have a good time as you
 4   to be in th is position.                                4   put it?
 5           MR. CRITTON: Move to strike this.               5            MR. CRITTON: Form .
 6   BY MR. EDWARDS:                                         6           THE WITNESS: Yes.
 7       Q. Well, when you applied for these jobs and        7   BY MR. EDWARDS:
                                                                                                                                 ,,
 8   they turned you down and gave you the reason that       8      Q. And what was her involvement and/or
 9   you're the person involved in the Jeffrey Epstein       9   knowledge about that?
10   scandal, was it that they are associated or            10            MR. CRITTON: Form .
11   friends with Jeffrey Epstein or is it that you         11           THE WITNESS: She knew what was going on.
12   have information and you have this confidentiality     12   BY MR. EDWARDS:
13   but you're revealing some certain information that     13      Q. You referred to her at one point in time
14   Mr. Epstein would not like?                            14   as Jeffrey Epstein's compan ion . But then later on
15           MR. CRITTON: Form.                             15   you said that if she flew she fl ew on a different
16          THE WITNESS: Both.                              16   airplane and oftentimes or sometimes she slept in
l/   OT 1v1K. ~                                             1/   a Ull1c:1c:1IL ueu 1ru1111•11. C:[J:,Lt:111. ...,;u LI•~·~~~·"
18      Q.   Both?                                          18   unusual to you?
19      A. Both.                                            19            MR. CRITTON: Form.
20      Q. And since then given what you just told          20           THE WITNESS : It was odd but, I mean, and
21   us about these people being very powerful, are you     21        again, everything is odd in Palm Beach.
22   afraid for your life given the fact that you're        22   BY MR. EDWARDS:
23   involved to some extent in this case 7                 23      Q. Okay, I don't mean to laugh .
24          MR. CRITTON: Form .                             24      A. Mr. Epstein fly to Jet Aviation, she fly
25          THE WITNESS: I just start thinking about        25   to Galaxy Aviation, but they never flew the same               I\


                                                                                                        45 (Pages 174 to 177)
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                                                  Page 266
  1    BY MR. LANGI NO :                                      1     THE STATE OF FLORIDA,                     )
 2         Q. Are you currently in fear of Mr. Epstein?       2     COUNTY OF DADE.                       )
 3         A. Not at this particular moment but it's          3
 4     something I have to be worry about, yes.               4
 5         Q. Are you personally afraid of criminal           5             I, the undersigned authority, certify
 6     prosecution?                                           6     that ALFREDO RODRIGUEZ personally appeared befo re
 7         A. No.                                             7     me on the 29th day of July, 2009 and wa s duly
 8         Q. Do you be lieve that you did anything           8     sworn .
 9     illegal7                                               9
                                                             10            WITNESS my hand and official sea l t his
10         A. Illegal, no.
                                                             11     31st day of July, 2009.
11             MR. LANGINO: I have no further
                                                             12
12          questions. Thank you .
                                                             13
13             MR. CRITTON: We're going to break in
                                                             14
14          about 15 minutes. Do you want to start and       15
15          go for 15 minutes or do you want to -- it's                       MICHELLE PAYNE, Court Reporter
16          up to you.                                       16               Notary Public - State of Florida
17             MS. EZELL: I'll start.                        17
18             MR. WILLITS: When are we going to quit,       18
19          folks?                                           19
20             MR. CRITTON: In 15 minutes.                   20
21             THE VIDEOGRAPHER: Might as well change        21
22          tapes.                                           22
23             MR. EDWARDS : Bob has to get back so          23
24          we've agreed we're going to come back some       24
25          other time.                                      25

                                                  Page 267                                                                    Page 269
                                                              1             CERTIFICATE
 1          MR. WILLITS: Why don't we just stop now?
                                                              2
 2          MS. EZELL: Okay.                                      The State Of Florida,   )
 3          MR. EDWARDS: Rather than you start.               3   County Of Dade.         )
                                                             4
 4          MS. EZELL: Yeah, I won 't get very far.          5             I, MICHELLE PAYNE, Court Reporter and
            MR. EDWARDS: Sorry to do th is with you,              Notary Public in and for the State of Florida at
 5                                                           6    large, do hereby certify th at I was authorized to
 6        we didn't finish.                                       and did stenographically report the videotaped
 7          MR. CRITTON: So we're stopped?                    7   deposition of ALFREDO RODRIGUEZ; that a review of
                                                                  the transcript was requested; and that the
 8          MR. EDWARDS: We're stopped.                      8    foregoing pages, numbered from 1 to 269,
 9          THE VIDEOGRAPHER: Off the record.                     inclusive, are a true and correct transcription of
                                                              9   my stenographic notes of said deposition.
10          (Thereupon, the videotaped deposition was        10        I further certify that said videotaped
11    adjourned at 5:30 p.m. )                                    deposition was taken at the time and place
                                                             11   hereinabove set forth and that the taking or said
12                                                                videotaped deposition was commenced and completed
13                                                           12   as hereinabove set out.
                                                             13            I further certify that r am not an
14                                                                attorney or counsel of any of the parties, nor am
15                                                           14   I a relative or employee of any attorney or
                                                                  counsel of party connected with the action, nor am
16                                                           15   I financially interested in the action.
l l                                                          lb            I ne 1oregomg cer111 1cat1on o: mis
                                                                  transcript does not apply to any reproduction of
18                                                           17   the same by any means unless under the direct
19                                                                control and/or direction of the certifying
                                                             18   reporter.
20                                                           19            DATED this 31st day of July, 2009.
21                                                           20
                                                             21
22                                                                       MlCHELLE PAYNE, Court Reporter
23                                                           22
                                                             23
24                                                           24
25                                                           25


                                                                                                                  68 (Pages 266 to 269)

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